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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       ) Criminal Action No. 1:23-cr-00061-MN
                                     )
ROBERT HUNTER BIDEN,                 )
                                     )
            Defendant.               )
                                     )
____________________________________)


          REPLY IN FURTHER SUPPORT OF MR. BIDEN’S STATUS REPORT

        The Special Counsel’s suggestion that this Court plow ahead in scheduling a trial while

this case is on appeal is both unlawful and illogical. (D.E. 106.) This Court has been divested of

jurisdiction, so it cannot proceed. “An appeal, including an interlocutory appeal, ‘divests the

district court of its control over those aspects of the case involved in the appeal.’” Coinbase, Inc.

v. Bielski, 599 U.S. 736, 740 (2023) (quoting Griggs v. Provident Consumer Discount Co., 459

U.S. 56, 58 (1982)); see Griggs, 459 U.S. at 58 (“[A] federal district court and a federal court of

appeals should not attempt to assert jurisdiction over a case simultaneously. The filing of a notice

of appeal is an event of jurisdictional significance—it confers jurisdiction on the court of appeals

and divests the district court of its control over those aspects of the case involved in the appeal”)

(per curiam). “That Griggs principle reflects a longstanding tenet of American procedure.”

Coinbase, 599 U.S. at 749. As the Special Counsel noted, the Third Circuit has requested briefing

on the jurisdictional question in the next two weeks, so it would be improper for this Court to wade

into the issue of the Third Circuit’s jurisdiction over the appeal at the same time the Third Circuit

is considering that issue for itself.
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       Moreover, it is illogical for the Special Counsel to ask this Court to set a trial schedule

when it is uncertain whether or when jurisdiction may return to this Court. Once the appeal has

been resolved, the Court and the parties will then be in the best position to determine the

appropriate next steps.

Dated: April 17, 2024                       Respectfully submitted,


                                            /s/ Abbe David Lowell
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of April, 2024, I filed the foregoing Status Report

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing to

all counsel of record.


                                                    /s/ Abbe David Lowell
                                                    Abbe David Lowell

                                                    Counsel for Robert Hunter Biden




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